         Case 2:21-cv-00347-SAB        ECF No. 14-2     filed 04/22/22    PageID.97 Page 1 of 1



                                    NOTICE TO EMPLOYEES




This notice has been posted pursuant to an Order of the Court, entered on [DATE], approving the
Consent Decree entered in resolution of a lawsuit brought by the U.S. Equal Employment Opportunity
Commission (EEOC) against Air Control Heating & Air Conditioning, Inc. d/b/a Air Control Heating &
Electric, Inc. (“Air Control”), Case Number 2:21-cv-00347-SAB, in the United States District Court for
the Eastern District of Washington. The Consent Decree is binding on the current business, with
provisions applicable to owner Maxim Johnston as well as any future purchasers or operators. The
Consent Decree resolves EEOC’s claims of sexual harassment and constructive discharge brought against
Air Control and enjoins it from certain conduct prohibited by law. In addition, the Consent Decree
requires Air Control to retain an independent third-party consultant with expertise and experience in
employment discrimination under Title VII of the Civil Rights Act and related employment policies and
practices, and workplace investigations, to assist Air Control in developing anti-discrimination policies
and procedures, to receive and independently and confidentially investigate any complaints of sexual
harassment and/or retaliation and determine appropriate corrective action to remedy any complaints of
discrimination or retaliation. Pursuant to the Consent Decree, Air Control will implement anti-
discrimination training to its owners, officers, human resources personnel, managers, supervisors, and
employees; implement policies to ensure Title VII compliance; provide its EEO policy to all employees
and applicants; implement policies to ensure accountability with regard to anti-discrimination practices;
and report to the EEOC all complaints of sex discrimination, sexual harassment, or retaliation it receives
from its employees for the next five (5) years.

Federal law and the Consent Decree prohibit discrimination against any individual because of his or her
sex including sexual harassment.

Federal law also prohibits retaliation against any individual by an employer because the individual
complains of discrimination, cooperates with any company or Government investigation of a charge of
discrimination, participates as a witness or potential witness in any investigation or legal proceeding, or
otherwise exercises his or her rights under the law.

Any Air Control officer, manager, supervisor or employee who is found to have retaliated against any
other employee because such employee participated in this lawsuit will be subject to substantial discipline
up to and including immediate discharge.

Should you have any complaints of discrimination or harassment, you should contact [Air Control
contact name & contact info] or Air Control encourages you to contact the independent consultant
directly at [Consultant name & contact info].

Employees also have the right to bring complaints of discrimination or harassment to the U.S. Equal
Employment Opportunity Commission, Seattle District Office at 909 1st Avenue, Suite 400, Seattle, WA
98104-1061, 206.576.3000, 1.800.669.4000.

This notice shall remain prominently posted at all facilities until [DATE], 20__. This Official Notice shall
not be altered, defaced, covered or obstructed by any other material.
